               Case 2:13-cr-00045-RWS-JCF Document 91 Filed 11/24/14 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION


             UNITED STATES OF AMERICA,              :
                                                    :
                   v.                               :    CRIMINAL ACTION NO.
                                                    :    2:13-CR-00045-RWS
             STANLEY J. KOWALEWSKI,                 :
                                                    :
                         Defendant.                 :

                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [84] of Magistrate Judge J. Clay Fuller and Defendant’s

             Motion for Extension of Time to File Objections to Magistrate Judge’s Report

             and Recommendation [88]. As an initial matter, Defendant’s unopposed Motion

             for Extension of Time [88] is GRANTED, and Defendant’s Objections to the

             Report and Recommendation [89] have been considered by the Court.

                   After reviewing the Report and Recommendation and Defendant’s

             Objections thereto, the Report and Recommendation is received with approval

             and adopted as the Opinion and Order of this Court. Accordingly, Defendant’s

             Motion to Produce Grand Jury Transcripts [29], Motion to Disclose All

             Communications between the U.S. Attorney’s Office and the SEC [34], and




AO 72A
(Rev.8/82)
               Case 2:13-cr-00045-RWS-JCF Document 91 Filed 11/24/14 Page 2 of 2




             Motion to Suppress Evidence Obtained in Violation of Defendant’s Attorney-

             Client and Work Product Privileges [30] are DENIED. Defendant’s Motion to

             Suppress Statements [31] is GRANTED. The Government’s Motion for

             Determination of Applicability of Attorney-Client Privilege to Advice

             Allegedly Rendered by Martha Peddrick [32] is GRANTED, and the Court

             finds that the attorney-client privilege does not apply to the advice rendered by

             Martha Peddrick.

                   SO ORDERED this 24th day of November, 2014.




                                                    ________________________________
                                                    RICHARD W. STORY
                                                    United States District Judge




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AO 72A
(Rev.8/82)
